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     1   Brad D. Brian SBN 79001
         Michael R. Doyen SBN 119687
     2   Bethany W. Kristovich SBN 241891
         John M. Gildersleeve SBN 284618
     3   MUNGER, TOLLES & OLSON LLP
         350 South Grand Avenue, 50th Floor
     4   Los Angeles, CA 90071-3426
         (213) 683-9100; Fax:   (213) 687-3702
     5   brad.brian@mto.com
         michael.doyen@mto.com
     6   bethany.kristovich@mto.com
     7   Attorneys for Plaintiffs MGM RESORTS
         INTERNATIONAL, et al.
     8
         Mark P. Robinson, Jr., SBN 54426
     9   Daniel S. Robinson, SBN 244245
         ROBINSON CALCAGNIE, INC.
   10    19 Corporate Plaza Drive
         Newport Beach, CA 92660
   11    (949) 720-1288; Fax: (949) 720-1292
         mrobinson@robinsonfirm.com
   12    drobinson@robinsonfirm.com
   13    Attorneys for Defendants,
         ANDREA ABRAMS, et al.
   14
         [See Signature Line for Additional
   15    Defendants]
         *Additional counsel of record listed on
   16    page 2
   17
   18                        UNITED STATES DISTRICT COURT

   19         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

   20
   21 MGM RESORTS INTERNATIONAL,                   Case No. LA CV18-06113 JAK (FFMx)
      et al.,
   22                                              REPORT ON MEDIATION
                  Plaintiffs,
   23                                              Trial Date:    Not Yet Assigned
              vs.
   24
      DAVID AASE, et al.,
   25
                  Defendants.
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   27
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                                         REPORT ON MEDIATION
Case 2:18-cv-06113-JAK-FFM Document 668 Filed 05/15/20 Page 2 of 11 Page ID #:2089




     1
     2   * Counsel of record continued
     3   Robert T. Eglet (Pro Hac Vice                 Kevin R. Boyle SBN 192718
         Forthcoming)                                  PANISH SHEA & BOYLE LLP
     4   Robert M. Adams (Pro Hac Vice                 11111 Santa Monica Blvd., Suite 700
         Forthcoming)                                  Los Angeles, CA 90025
     5   EGLET ADAMS                                   (310) 477-1700; Fax: (310) 477-1699
         400 S. Seventh St., Suite 400                 boyle@psblaw.com
     6   Las Vegas, NV 89101
         (702) 450-5400; (702) 450-5451                Attorneys for Defendants BRYCE
     7   Eservice@egletlaw.com                         HEATHCOAT, et al. [See Signature
                                                       Line for Additional Defendants]
     8   Attorneys for Defendants,
         ANDREA ABRAMS, et al.
     9
         Adam H. Braun SBN 199544                      Andrew A. August SBN. 112851
   10    Joshua M. Moonesinghe SBN 316620              Kevin F. Rooney SBN 184096
         BRAUN & BRAUN LLP                             BROWNE GEORGE ROSS LLP
   11    10250 Constellation Blvd., Suite 1020         101 California Street, Suite 1225
         Los Angeles, California 90067                 San Francisco, California 94111
   12    (310) 277-4777 Fax: (310) 507-0232            (415) 391-7100 Fax: (415) 391-7198
         adam@braunlaw.com                             aaugust@bgrfirm.com
   13    josh@braunlaw.com                             krooney@bgrfirm.com
   14    Attorneys for Defendants JUSTIN               Attorneys for Defendants ESTATE
         GALVAN, R.G., A MINOR, P.G., A                OF STACEE ETCHEBER and
   15    MINOR, P.G., A MINOR, ESTATE OF               VINCENT ETCHEBER
         KERI GALVAN, KEITH MINEO, and
   16    JESSICA DAVIES
   17
   18
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   20
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     1         The parties respectfully advise the Court that after the parties have reached a
     2 settlement agreement, the process is continuing towards resolution.
     3         The parties continue to believe that this outcome will avoid prolonged
     4 litigation, and resolve this matter so that the communities, the victims and their
     5 families can move forward in the healing process.
     6         Under the terms of the agreement, claimants had until May 14, 2020 to elect to
     7 participate in the settlement. The parties are currently evaluating the status of the opt-
     8 in process. With respect to claimants who elect to participate, the agreement provides
     9 for dismissal of pending litigation, including the claims in this action. The parties
   10 therefore respectfully request to file the next joint report on August 21, 2020 in the
   11 event that this action has not been voluntarily dismissed as to all parties by that date.
   12 DATED: May 15, 2020                     MUNGER, TOLLES & OLSON LLP
   13
   14
                                              By: /s/ Bethany W. Kristovich
   15
                                                  Brad D. Brian SBN 79001
   16                                             Michael R. Doyen SBN 119687
   17                                             Bethany W. Kristovich SBN 241891
                                                  John M. Gildersleeve SBN 284618
   18                                             MUNGER, TOLLES & OLSON LLP
   19                                             350 South Grand Avenue, 50th Floor
                                                  Los Angeles, CA 90071-3702
   20
   21                                              Attorneys for Plaintiffs MGM RESORTS
                                                   INTERNATIONAL, et al.
   22
   23 DATED: May 15, 2020                     ROBINSON CALCAGNIE, INC.
   24
   25
   26                                         By: /s/ Daniel S. Robinson
                                                  Mark P. Robinson, Jr. SBN 54426
   27                                             Daniel S. Robinson SBN 244245
                                                  19 Corporate Plaza Drive
   28                                             Newport Beach, CA 92660
                                                   -3-
                                           REPORT ON MEDIATION
Case 2:18-cv-06113-JAK-FFM Document 668 Filed 05/15/20 Page 4 of 11 Page ID #:2091




     1                                        (949) 720-1288; Fax: (949) 720-1292
                                              mrobinson@robinsonfirm.com
     2                                        drobinson@robinsonfirm.com
     3                                        And
     4                                        Robert T. Eglet (Pro Hac Vice
                                              Forthcoming)
     5                                        Robert M. Adams (Pro Hac Vice
                                              Forthcoming)
     6                                        EGLET ADAMS
                                              400 S. Seventh St., Suite 400
     7                                        Las Vegas, NV 89101
                                              (702) 450-5400; (702) 450-5451
     8                                        Eservice@egletlaw.com
     9                                        Attorneys for Defendants, ANDREA
                                              ABRAMS, DANIEL ABRAMS,
   10                                         LEANNE ALTAMIRANO, JOANNA
                                              ALVAREZ, JENNIFER APARICIO,
   11                                         SHARMEN BADUA-MURRAY,
                                              SHANNON BALAS, JASMINE
   12                                         BARBUSCA, ASHLEY BECKER,
                                              ANNALISE BELMARES, MEGHAN
   13                                         BELMARES, JONATHAN BELTRAN,
                                              AMANDA BOBB, MICHAEL
   14                                         BRADLEY, STEVEE BRANCATO,
                                              JOHN BUI, LYNZEE CAMPBELL,
   15                                         KAREN CANADA, BRITTNIE NICOLE
                                              CARDENAS, ELIZABETH
   16                                         CARVALHO, CONNOR CASAREZ,
                                              CHRISTOPHER CAYWOOD,
   17                                         KASANDRA CAYWOOD, KERI
                                              CESARIO, ROBERT CESARIO, KRISTI
   18                                         CHRISTENSEN, KATHLEEN CONTI,
                                              TYLER CRAIG, BRENDA CRANE,
   19                                         JENNIFER CUEVAS, ADRIANNA
                                              CULLER, KYLE DAVID, VANESSA
   20                                         DIPOLITO, ROBYN DOBBS, ELYSE
                                              DONNELLY, JESSICA DOVALINA,
   21                                         GENA ELFELT, STACI ELLIS, STEVE
                                              ENCINIAS, MELISSA FIERRO,
   22                                         DANIEL FLORES, AMANDA FROST,
                                              STEPHANIE GALLEGOS, TRISTI
   23                                         GLOVER, ALESHA GONZALEZ,
                                              JENNIFER GRIMM, GABRIEL
   24                                         GUERRERO, TRISHA GUERRERO,
                                              LARRY HAYDEN, BRANDON
   25                                         HELMICK, KRISTINE HENDERSON,
                                              WHITNEY HINNANT, TAMMY
   26                                         HISCOX GURULE, KENDRA HOBBS,
                                              KATHERINE HOEY, LISA HOLGUIN,
   27                                         BRENDAN HOOLIHAN, DEBRA
                                              HUDSON, JULIE HUNTSINGER,
   28                                         RENEE JIMENEZ, MICHELLE JONES,

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     1                                        ALAINA KELLY, WILLIAM KELLY,
                                              BRIAN KETTERING, YVETTE
     2                                        KETTERING, REBECCA KNEPPER,
                                              KASH KNUDSON, CHELSEA
     3                                        LAURENT, NICHOLAS LAWLOR,
                                              TIFFANI LAWYER, RUTH LEGASPI,
     4                                        DELANE LEIVAS, JUDITH LEYN,
                                              MICHAEL LJUBIC, ARLA LONCAR,
     5                                        BLAKELONCAR, LETICIA LUNA,
                                              KELCY MAIO, ASHLEY
     6                                        MANSPERGER, ADAM MATZ, CHRIS
                                              W. MURRAY, ANA NUNEZ, LUIS
     7                                        NUNEZ, ARIEL ONTMAN, LESLIE
                                              PAIZ, ROCKY PALERMO, SALLY
     8                                        PALMER, HALEY PANNO, KENDALL
                                              QUIROZ, LYNNE REICK, JASARA
     9                                        REQUEJO, SAUL RODRIGUEZ,
                                              CLAUDIA ROMERO, HARRY
   10                                         ROMERO, ANNA ROSS, AMANDA
                                              RUMBLE, ERIC RYMER, JUSTINE
   11                                         SALAS, JANAE SAMBRANO, JANET
                                              SEEGER, MAGEE SEGAL, TOMMIE
   12                                         SERRANO, STEPHANIE SMARKER,
                                              PARKER STEVENS, STEVE
   13                                         STEWART, SHANDI STRONG,
                                              NICHOLAS SWARTZ, YVETTE
   14                                         SWARTZ, JANELLE TERKEURST,
                                              EVAN TILLEMA, ALFREDO TOLEDO,
   15                                         JOHNNY TOSCANO, RHONDA
                                              TRASK, HAMIDA TRUJILLO, LIGIA
   16                                         URIARTE, NATHALIE VANDERSTAY,
                                              AMANDA WECHSLER, STACY
   17                                         WILBANKS, ANNA WILLIAMS,
                                              JOSEPH WILLIAMS, JAMES
   18                                         WILLIAMSON, MCKAYLA WILSON,
                                              BRETT YEAKEL, SHANNON
   19                                         ZEEMAN, SHARLA ZOTEA
   20 DATED: May 15, 2020                PANISH SHEA & BOYLE LLP
   21
   22
   23                                    By: /s/ Kevin R. Boyle
                                           Kevin R. Boyle SBN 192718
   24                                      11111 Santa Monica Blvd., Suite 700
                                           Los Angeles, CA 90025
   25                                      (310) 477-1700; Fax: (310) 477-1699
                                           boyle@psblaw.com
   26
   27
   28

                                             -5-
                                      REPORT ON MEDIATION
Case 2:18-cv-06113-JAK-FFM Document 668 Filed 05/15/20 Page 6 of 11 Page ID #:2093




     1                                       Attorneys for Defendants BRYCE
                                             HEATHCOAT, LISA DANCEL, CODI
     2                                       BABCOCK, LEANNE HUGGINS, RENEE
                                             ALCALA, CHRIS W. MURRAY,
     3                                       SHARMEN MURRAY, LARISSA
                                             COBURN, LORI KAMMER, TODD
     4                                       KAMMER, AARON E. JENKINS,
                                             BRIANNA TAYLOR, DANIEL STAPLES,
     5                                       DAVID SCANTLIN, DESIREE TEMPLE,
                                             DONALD WASHBROOK JR., ELLEN
     6                                       DAVIS, ERICA GALLEGOS, HEATHER
                                             HERNANDEZ, JOANNA KILMA, JULIA
     7                                       CAMPOS, KAREN ELAINE SMERBER,
                                             KARLEE POE, KERRY WISDEN,
     8                                       KRISTINA STAPLES, LARRY
                                             DELGADO, LAUREN BRADY, LAUREN
     9                                       CHRISTINE KRUEGER, LAUREN HITT,
                                             LISA HARTZ, MICHELLE ANN
   10                                        CASHMAN, MICHELLE SCANTLIN,
                                             MIKAELA DIAZ, RYAN L. SCANTLIN,
   11                                        SAMUEL STAPLES, TAWANYA OTTO,
                                             TAYLOR BLAISER, TIFFANY BALL,
   12                                        H.S., A MINOR , JEFFREY STEFFENS,
                                             CHARLES MAYFIELD, CHARLES
   13                                        MAYFIELD IV, CHRISTINE A.
                                             MAYFIELD, CINDY BRADSHAW,
   14                                        CRYSTAL SALAZAR, GLORIA
                                             AGUIRRE, JULIE DOVE, REBEKAH
   15                                        SCHEUSSLER, ROBERT BRADSHAW,
                                             STACEY BROWN-FUSANO, DEBORAH
   16                                        HALL, ERNESTO ALFARO, JESUS
                                             ASTUA, CHEYENE BACON-
   17                                        MERIWEATHER, MARY BANTA, TED
                                             BANTA, JANNETTE BLAKE, JODI
   18                                        BOATWOOD, DIANELLA BONO,
                                             MAUREEN BONTE, JAMES BRIGHTLY,
   19                                        TREANESHA LASHONDA BULLION,
                                             TERRY BURK, ANDREA
   20                                        BUSTAMANTE, GABRIELLA
                                             BUSTAMANTE, JENNIFER CAMPAS,
   21                                        ANGELA CATURA, WILLIAM COOK,
                                             JOY M. CRUZ, NICOLE CUSICK,
   22                                        ROBERT CUSICK, DEBORAH
                                             DAWKINS, DEANNA DAWSON, LORI
   23                                        DAWSON, CYNTHIA DEARING, BRETT
                                             DELAURA, DANIEL DOMINGUEZ,
   24                                        AMBER DURHAM, CANDICE
                                             ERICKSON, CHRIS ERICKSON, NICO
   25                                        ESTRADA, BRIANA EVANS, ASHLEY
                                             FARGO, JENNIE FERNANDES, MINDY
   26                                        FINCHER, DONALD FORSYTH,
                                             LORRAINE FUENTES, STEPHANIE
   27                                        GALLEGOS, CELENA GARCIA, STACY
                                             GARCIA, ROBERT GLAVIS, TERESA
   28                                        GLAVIS, ASHLEY GOMEZ, DANIEL

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Case 2:18-cv-06113-JAK-FFM Document 668 Filed 05/15/20 Page 7 of 11 Page ID #:2094




     1                                       JOSEPH GONZALES, MIKERRA
                                             GUERRERO, STEVEN HALL, TRAVIS
     2                                       HALL, BRANDON HARLOW,
                                             MELINDA HAWKINS, KILEY HAYDEN,
     3                                       KRISTINA HAYDEN, RICARDO
                                             HERNANDEZ, EMMITT HICKMAN,
     4                                       TERESA HIMLEY, TANNA HOLDERLE,
                                             CINDY HOLGUIIN, MELISSA
     5                                       HOLMQUIST, TAYLOR HOOD,
                                             BRENDAN HOOLIHAN, BRET IVEY,
     6                                       LANESHIA JOHNSON, KELSI
                                             KESSLER, SANA KHADER, MICHAEL
     7                                       KRETSCHMAR, SOPHIA LIMA, ELVIA
                                             LLAMAS, MANUEL LLAMAS,
     8                                       DELANEY LLANUSA, JEFF
                                             MANAHAN, KEVIN MANAHAN,
     9                                       ANDREW MARTINEZ, SOMER
                                             MARTINEZ, TONY MARTINEZ,
   10                                        WILLIAM MASON, ASHLEY DAWN L
                                             MEAD, RACHELLE MELOCOTON,
   11                                        MELISSA MINA, ALEXANDRIA
                                             MITCHELL, DODI MOORE, LISA
   12                                        MORAN, JILLIAN MUELLER,
                                             JONATHAN MULLIGAN, KEVIN
   13                                        MURPHY, CHRIS W. MURRAY, LISA
                                             MUZYCKA, CYNTHIA OLVERA,
   14                                        LESLIE LYNN PAIZ, REIGHLYNN
                                             PARSLEY, PAUL PEREZ, ERIC
   15                                        PERKINS, BRIAN PICKENS, LEONEL
                                             M. PLATA, KEITH POWERS,
   16                                        MATTHEW C. REED, BRENDA
                                             RESNICK, KURT ROBERTS, MICHAEL
   17                                        ROBERTSON, SUSAN ROSE, CHANTEL
                                             RUBIO, LAURA RUIZ, RENEE
   18                                        SALAZAR, SELSO SALAZAR,
                                             ERNESTINE SANDOVAL, ROBERT
   19                                        SCHRODE, ALICIA SEGOVIA,
                                             GILBERT SEGOVIA, CHERYL SEGUIN,
   20                                        FRED SEGUIN, ANTHONY SILVA,
                                             CHEYENNE NICOLE SIMON, SHELBY
   21                                        SLIFKA, RYAN SMITH, STEPHANIE
                                             SOTOMAYOR, KATEY SOUZA,
   22                                        CHERYL SPENCER, AMBER STREID,
                                             CLINT SUNDEEN, KYLE C. SUNDEEN,
   23                                        LYNNSEY SWEET, RUBEN
                                             TALAMANTEZ, DEBORAH THOMAS,
   24                                        LINDSAY TILLEMA, KENNETH
                                             TONKOVICH, HAMIDA TRUJILLO,
   25                                        JACQUELYN TRUJILLO, ERIN
                                             VALENZUELA, GERARD
   26                                        VANGERWEN, DILLON VILLALOBOS,
                                             DON VILLALOBOS, LISA
   27                                        VILLALOBOS, PARISSE VILLALOBOS,
                                             CHRISTOPHER WETZEL, GREG
   28                                        WHITE, VICTORIA WHITE, TRACIE P.

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                                      REPORT ON MEDIATION
Case 2:18-cv-06113-JAK-FFM Document 668 Filed 05/15/20 Page 8 of 11 Page ID #:2095




     1                                       WIGHT, JAMES WILLIAMSON,
                                             MCKAYLA WILSON, JEFF WRIGHT,
     2                                       TOME XAYAVONG, TENESHA
                                             ALFARO, DANIEL EARL ALVAREZ,
     3                                       TINELLA BARRANCO, DONOVAN
                                             BARTHEL, MONIQUE D BARTHEL,
     4                                       ALEISA BEBEE, SEAN BEESON,
                                             RICHARD D. COE, PATRICIA COPE,
     5                                       BRITTANI CRAWFORD, KIRA M.
                                             CROSS, KORTNEY DELAWAY,
     6                                       ALLISON DORR, KENDALL
                                             DUSENBERRY, STACI ELLIS, LAURA
     7                                       ESTRADA, KYLE EVINGER, JEFFREY
                                             FEIG, ART FLORES, STEVEN FLORES,
     8                                       ROCHELLE FORSYTH, BRITTANY
                                             GEBHART, KYLEE GLASSCOCK,
     9                                       REGINA ANNE HARRIS, PATRICK
                                             HOBBS, LEIGH ANN HODGSON,
   10                                        VANESSA HOLUB, ALEXIS HOOD,
                                             DEBRA HUDSON, SCOTT KEERAN,
   11                                        VALERIE MELISSA KEERAN,
                                             MATTHEW KLEMMER, BRITTANY
   12                                        LAJOIE, JAMIE LAVERY, CARA
                                             LEDERGERGERBER, EMILY MAJER,
   13                                        BAMBI RENE MOREAU, DENINE
                                             PETERS, DANYALE PETTERSON,
   14                                        KRYSTAL RAMIREZ, MICHAEL
                                             ROGOZIK, MONICA ROGOZIK,
   15                                        MICHAEL COTY RYE, ALLISON
                                             SAELEE, LISA SCHNEIDER, MARK
   16                                        SCHNEIDER, MICHAEL K. SHOLAN,
                                             BUDDY SKIDMORE, KELLIE
   17                                        SUNDEED, ERIN TABER, MARIE
                                             TAUTRIM, MICHAEL TAUTRIM, EVAN
   18                                        TILLEMA, LANNA TINOCO, PETER
                                             VIOLAS, DEREK WHITE, PRESLEY
   19                                        WICK, REBECCA WILKEN, CASSIE
                                             ARDITO, RICHARD ARDITO, BRAD
   20                                        BEAUCHAMP, DAWN BEAUCHAMP,
                                             ALISA CLAWSON, KARA CLEMENT,
   21                                        MELISSA CONTRI, KARIN DONIS,
                                             ANGELA FAVIA, GARRETT
   22                                        GHAHYASI, JUSTIN HENDERSON,
                                             JUDIE JEAN KIRKSEY, BROOKE
   23                                        LANEY, LOGAN LAPORTE, MITCHELL
                                             LAPORTE, CLAUDIA MAJALCA,
   24                                        BRIAN O'LEARY, CARRIE O'LEARY,
                                             DESTINY PACHECO, SHAWN PRICE,
   25                                        DOMINIC RABANAL, CASEY
                                             SCANDLYN, ILENE SCANDLYN, LEE
   26                                        SKOLNICK, TROY SPRINGER,
                                             LINDSAY STRAGIER, JAEGER
   27                                        WOODSON and STEVEN HEIRSHBERG
   28

                                             -8-
                                      REPORT ON MEDIATION
Case 2:18-cv-06113-JAK-FFM Document 668 Filed 05/15/20 Page 9 of 11 Page ID #:2096




     1 DATED: May 15, 2020                   BRAUN & BRAUN LLP
     2
     3
                                             By: /s/ Adam H. Braun
     4
                                             Adam H. Braun SBN 199544
     5                                       Joshua M. Moonesinghe SBN 316620
                                             10250 Constellation Blvd., Suite 1020
     6                                       Los Angeles, California 90067
                                             (310) 277-4777 Fax: (310) 507-0232
     7                                       adam@braunlaw.com
                                             josh@braunlaw.com
     8                                       Attorneys for Defendants JUSTIN
                                             GALVAN, R.G., A MINOR, P.G., A
     9                                       MINOR, P.G., A MINOR, ESTATE OF
                                             KERI GALVAN, KEITH MINEO, and
   10                                        JESSICA DAVIES
   11 DATED: May 15, 2020                    BROWNE GEORGE ROSS LLP
   12
   13
   14                                        By: /s/ Andrew A. August
                                             Andrew A. August SBN. 112851
   15                                        Kevin F. Rooney SBN 184096
                                             101 California Street, Suite 1225
   16                                        San Francisco, California 94111
                                             (415) 391-7100 Fax: (415) 391-7198
   17                                        aaugust@bgrfirm.com
                                             krooney@bgrfirm.com
   18                                        Attorneys for Defendants ESTATE OF
                                             STACEE ETCHEBER and VINCENT
   19                                        ETCHEBER
   20
   21
   22
   23
   24
   25
   26
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                                 #:2097



  1
                                  ATTESTATION OF FILER
  2
            Pursuant to Local Rule 5-4.3.4, I, Bethany W. Kristovich, attest that the above
  3
      signatories have authorized this filing and concur in its content.
  4
  5
  6
                                                 /s/ Bethany W. Kristovich
  7                                              Bethany W. Kristovich
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                                 #:2098



  1                             CERTIFICATE OF SERVICE
  2        I hereby certify that on this 15th day of May 2020, I caused to be
  3 electronically filed the foregoing via the Court’s Electronic Case Filing (ECF)
  4 system. I understand that notification of this filing will be sent to all counsel of
  5 record in this matter who are on the Court’s CM/ECF service list.
  6
  7
                                                /s/ Bethany W. Kristovich
  8                                             Bethany W. Kristovich
  9
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